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				IN THE MATTER OF THE APPLICATION OF B.J.A.L. TO CHANGE HER NAME2015 OK CIV APP 4341 P.3d 698Case Number: 112139Decided: 12/11/2014Mandate Issued: 01/07/2015A, DIVISION IIIIN THE COURT OF CIVIL APPEALS OF THE STATE OF OKLAHOMA, DIVISION III
Cite as: 2015 OK CIV APP 4, 341 P.3d 698

				

IN THE MATTER OF THE APPLICATION OF B.J.A.L. TO CHANGE HER 
NAME:

SARAH S. CAMPBELL (Mother), B.J.A.L. (Minor), 
Plaintiffs/Appellees,v.BRIAN NEAL LOWE, Defendant/Appellant.

APPEAL FROM THE DISTRICT COURT OFROGERS COUNTY, OKLAHOMA
HONORABLE DYNDA R. POST, TRIAL JUDGE

AFFIRMED

James P. Tanner, Claremore, Oklahoma, for Plaintiffs/Appellees,Brian Neal 
Lowe, Loretta, Pennsylvania, for Defendant/Appellant.


BRIAN JACK GOREE, Judge:
¶1 Brian Neal Lowe (Father) appealed an order granting his former 
girlfriend's petition to change their minor daughter's name. The Record on 
Appeal in this case consists of (1) Father's Response to Petition For Change of 
Name, (2) Father's Statement in Support of Motion To Deny Name Change, and (3) a 
copy of the appearance docket. The Petition in Error does not include a copy of 
the order appealed.
¶2 In her answer brief, Sarah S. Campbell (Mother) argues she filed a 
petition compliant with 12 O.S. 2011 
§1632 and served it on Father in the federal institution where he resides. 
Father's objection was filed in the trial court on June 17, 2013. The appealed 
order appears to have been filed June 19, 2013 following a hearing where Mother 
testified and presented proof of publication. The hearing was not 
transcribed.
¶3 Father's appeal presents two proposals for error. First, he contends his 
child is under ten years old and therefore cannot consent to a name change. 
Second, he argues that Mother has thwarted his attempts to have a relationship 
with his child.
¶4 A guardian or next friend may petition the court to change the name of a 
minor. 12 O.S. 2011 §1631. The 
petition must be verified and state the petitioner's name, residence, date and 
place of birth, birth certificate number, and desired name. 12 O.S. §1632. The petition must 
also contain a clear and concise statement of the reasons for the desired change 
and that the change is not sought for any illegal or fraudulent purpose or to 
delay or hinder creditors. Id.
¶5 Mother states her child was born in Claremore and Father terminated all 
contact with her and the child soon afterward. She states Father went to federal 
prison approximately one year later for receipt, possession and production of 
pornography and sexual exploitation of a child. Father does not dispute this in 
his reply brief. However, he objects to Mother's contention that he has had no 
contact with his daughter. He contends Mother has changed her phone number, 
address, and other contact information which has prevented a father/daughter 
relationship.
¶6 A divorced, non-custodial parent has a constitutional right to notice of a 
proceeding to change the child's surname. In re Tubbs, 1980 OK 177, ¶7, 620 P.2d 384. Father and Mother were 
apparently never married. Two days before the hearing Father filed a written 
response to the petition with a sworn statement. Father was given notice and 
exercised his opportunity to be heard. His constitutional right to due process 
was protected.
¶7 A name change shall be granted if the material allegations of the petition 
are sustained by sworn evidence, unless the judge finds the change is sought for 
an illegal or fraudulent purpose or that a material allegation of the petition 
is false. 12 O.S. 2011 §1634. In 
the case In Re J.S.S., 1995 OK 
CIV APP 47, 895 P.2d 748, the 
Court of Civil Appeals decided that 12 O.S. 1991 §1631 et seq. does not 
permit a parent to change a minor child's last name from that of his natural 
father over the father's objection. In Re J.S.S., ¶2. However, another 
division of the Court of Civil Appeals declined to adopt the reasoning of In 
Re J.S.S. and reversed a trial court's order changing a child's last name, 
concluding it was against the clear weight of the evidence. In Re S.S., 
2004 OK CIV APP 35, 90 P.3d 566.
¶8 We hold that 12 O.S. 2011 
§1631 et seq. is broad enough to permit a court to change the last name of a 
child over the objection of a natural parent when the parents have never been 
married to one another, provided the objecting parent receives proper 
notice.
¶9 Father cites no Oklahoma authority supporting his argument that a name 
change of a minor is invalid based on the minor's incapacity to give legal 
consent. A guardian or next friend is statutorily permitted to petition the 
court on behalf of the child for a name change. §1631. Father's argument that 
Mother has thwarted his attempts to form a relationship with his child could be 
a relevant consideration when a trial court determines whether or not a petition 
should be granted. In Re S.S., ¶15. On the scant record presented, we are 
unable to conclude that the trial court committed error in granting the 
petition.

¶10 AFFIRMED.

BELL, P.J., and MITCHELL, J., concur.





	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Court of Civil Appeals Cases
&nbsp;CiteNameLevel

&nbsp;1995 OK CIV APP 47, 895 P.2d 748, 66 OBJ        1866, J.S.S., Application ofDiscussed
&nbsp;2004 OK CIV APP 35, 90 P.3d 566, IN THE MATTER OF THE APPLICATION OF STRATTONDiscussed
Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;1980 OK 177, 620 P.2d 384, Application of TubbsDiscussed
Title 12. Civil Procedure
&nbsp;CiteNameLevel

&nbsp;12 O.S. 1631, Right to Petition for Change of NameDiscussed at Length
&nbsp;12 O.S. 1632, Required Context of PetitionDiscussed
&nbsp;12 O.S. 1634, Proof of Petition by Sworn EvidenceCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
